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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   MAURICIO PAVEL DE LA FUENTE ET
   AL.,

        Plaintiffs,

   v.                                               No. 4:22-cv-0345-P

   WELLS FARGO BANK, NATIONAL
   ASSOCIATION ET AL.,

        Defendants.
                                  ORDER
      On May 31, 2022, the Parties notified the Court that “they have fully
   compromised and settled all claims and matters in controversy between
   them.” ECF No. 17. In accordance with the representation that all
   claims and matters in controversy are settled, the Court ORDERS that
   this case is DISMISSED with prejudice.

        SO ORDERED on this 31st day of May, 2022.




                  Mark T. Pittman
                  UNITED STATES DISTRICT JUDGE
